                    Case 2:23-cv-00589-JRG-RSP Document 1-2 Filed 12/12/23 Page 1 of 5 PageID #: 17




   US 8,671,195 B2 vs Dexcom G5 Mobile® CGM System
Key Features of US 8,671,195 B2                                          Product (Dexcom G5 Mobile® CGM System)

Claim 17. A       digital media Dexcom Share™ is a feature within the Dexcom G5 Mobile CGM App. It allows for remote monitoring from one
communication            protocol, person, the Sharer, of Dexcom G5 Mobile CGM System data to another person, their Follower.
comprising:
                                     Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                     Product discloses about digital media (i.e. data) which follows the communication protocol (i.e. Dexcom G5 Mobile
                                     CGM system).

17.1 at least one media terminal     Dexcom Share™ is a feature within the Dexcom G5 Mobile CGM App. It allows for remote monitoring from one
and at least one media node          person, the Sharer, of Dexcom G5 Mobile CGM System data to another person, their Follower.
disposed in an accessible relation
                                     Dexcom Share includes:
with at least one interactive
computer network,                    • Dexcom G5 Mobile CGM System
                                     • Sharer’s smart device
                                     • Dexcom G5 Mobile App
                                     • Internet connection
                                     • Follower’s smart device
                                     • Dexcom Follow™ App
                                     Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                     Product discloses about digital media communication protocol(i.e. Dexcom G5 Mobile® CGM System).This product
                                     discuss about media terminal (i.e. Sharer’s smart device ) and media node (i.e. Follower’s smart device) and it discuss
                                     these smart devices requires one interactive computer network (i.e. Internet connection).
                                                                                    Claim Chart– US 8,671,195 B2 vs Dexcom G5 Mobile® CGM System
                     Case 2:23-cv-00589-JRG-RSP Document 1-2 Filed 12/12/23 Page 2 of 5 PageID #: 18


Key Features of US 8,671,195 B2                                             Product (Dexcom G5 Mobile® CGM System)

17.2 at least one digital media file   Once the Sharer activates the Share feature in the Dexcom G5 Mobile App, the smart device transfers sensor
initially disposed on at least one     glucose readings to the Dexcom Share Cloud using either Wi-Fi or a cellular data plan. Then, the sensor glucose
of said media terminal or said         readings are sent from the Dexcom Share Cloud to the Follower’s smart device using Wi-Fi or the Follower’s cellular
media node,                            data plan
                                       A secure online storage server where Dexcom Share® feature information is stored and then shared with
                                       Followers.
                                       Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                       Product discloses about when the sharer activates the feature of the Share feature, the media file (i.e. glucose
                                       readings) share to the Cloud, where this information is stored among others.

17.3 said at least one media The Sharer must be within 6 meters of their smart device in order to send data to their Follower or it will not
terminal structured to detect said work.
at least one media node,
                                                                  Media                                                  Media
                                                                 terminal                                                node




                                       Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                       Product discloses about media terminal (i.e. Sharer’s smart device) and media node (i.e. Follower’s smart device)
                                       here the evidence discloses that if media terminal (i.e. Sharer’s smart device) and media node (i.e. Follower’s smart
                                       device) are not in 6 meter range they would not be able to share their data, means media terminal detects the
                                       media node within 6 meters range.




                                                                                                                                            Page 2 of 5
                                                                                     Claim Chart– US 8,671,195 B2 vs Dexcom G5 Mobile® CGM System
                     Case 2:23-cv-00589-JRG-RSP Document 1-2 Filed 12/12/23 Page 3 of 5 PageID #: 19


Key Features of US 8,671,195 B2                                           Product (Dexcom G5 Mobile® CGM System)

17.4 a communication link             Conditions Affecting Use
structured to dispose said at least
                                      Once sharing is active, make sure the Sharer and Follower have access to the Internet and their smart device
one media terminal and said at
                                      settings are not altered. Make sure the Sharer’s and Follower’s smart devices have:
least one media node in a
communicative relation with one       • Enough battery power to maintain sharing
another via said interactive          • Internet connection
computer network,
                                      • Notifications turned on If turned off, Follower will not receive any notifications.
                                      If turned off, Follower will not receive any notifications.
                                      The Sharer must be within 6 meters of their smart device in order to send data to their Follower or it will not
                                      work.
                                      Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                      Product discloses a wireless communication link (i.e. Internet connection) which is structured to dispose media
                                      terminal (i.e. Sharer’s smart device) and media node (i.e. Follower’s smart device) in a communicative relation with
                                      one another via computer network (i.e. Internet connection).

17.5 said communication link Dexcom Share Description
being initiated by said at least one
                                     What Dexcom G5 Mobile CGM with Share does:
media terminal,
                                     Connects your smart device with your Follower’s smart device via either a Wi-Fi or mobile data connection
                                     (connect to Wi-Fi through a secured network to maintain data security).
                                      • Invites and sends Followers your setting recommendations.
                                      • Displays the status of your smart device, and the Dexcom Share Cloud.
                                      • Confirms your sensor glucose readings are being shared with your Follower(s).
                                      Tap INVITE FOLLOWERS to set up your Followers.




                                                                                                                                          Page 3 of 5
                                                                                     Claim Chart– US 8,671,195 B2 vs Dexcom G5 Mobile® CGM System
                     Case 2:23-cv-00589-JRG-RSP Document 1-2 Filed 12/12/23 Page 4 of 5 PageID #: 20


Key Features of US 8,671,195 B2                                            Product (Dexcom G5 Mobile® CGM System)




                                       Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
                                       Product discloses about Communication link (i.e. Wi-Fi or mobile data connection), further the evidence discloses
                                       about media terminal (i.e. Sharer’s smart device) want to connect with media node (i.e. Follower’s smart device)
                                       then media terminal (i.e. Sharer’s smart device) send invite (i.e. communication initialization) which is initiated by
                                       the media terminal (i.e. Sharer’s smart device).

17.6 said at least one media node      Once the Sharer activates the Share feature in the Dexcom G5 Mobile App, the smart device transfers sensor
and said at least one media            glucose readings to the Dexcom Share Cloud using either Wi-Fi or a cellular data plan. Then, the sensor glucose
terminal structured to transmit        readings are sent from the Dexcom Share Cloud to the Follower’s smart device using Wi-Fi or the Follower’s
said at least one digital media file   cellular data plan.
therebetween          via      said
                                       Source: https://s3-us-west-2.amazonaws.com/dexcompdf/Share-Follow-User-Manual-OUS-English.pdf
communication link, wherein
                                       Product discloses about media terminal (i.e. Sharer’s smart device) want to connect with media node (i.e. Follower’s
                                       smart device). It discloses that media terminal (i.e. Sharer’s smart device) transfer glucose readings (i.e. media file)
                                       to the media node (i.e. Follower’s smart device),via Dexcom Share Cloud using communication link (i.e. Wi-Fi or a
                                       cellular data).




                                                                                                                                              Page 4 of 5
                                                                                Claim Chart– US 8,671,195 B2 vs Dexcom G5 Mobile® CGM System
                   Case 2:23-cv-00589-JRG-RSP Document 1-2 Filed 12/12/23 Page 5 of 5 PageID #: 21


Key Features of US 8,671,195 B2                                       Product (Dexcom G5 Mobile® CGM System)

17.7 said communication link is About Dexcom Clarity Dexcom Clarity is a software program that allows the transfer of glucose data from a Dexcom
structured to bypass at least one CGM system to Dexcom remote servers for data management to assist in the use of the Dexcom CGM system and
media terminal security measure. to assist in healthcare services. Dexcom Clarity can transfer and manage data from the Dexcom G5 Mobile CGM
                                  System, Dexcom G6 CGM System (Dexcom G6), and Dexcom G7 CGM System (Dexcom G7) (where available), all of
                                  which are referred to as Dexcom CGM systems.
                                   Source:https://productstore.clarity.dexcom.com/Documentation/en/Dexcom_Clarity_User_Guide_Home_User.p
                                   df
                                   Accept an Invitation to Share Data
                                   A healthcare professional uses their Dexcom Clarity account to invite you to share data with their clinic. They will
                                   provide the invitation in print or by email. The invitation includes a sharing code that you enter on your Dexcom
                                   Clarity Settings page to accept the invitation before the expiration date shown. Once you have completed the
                                   acceptance, your account and the clinic’s account will automatically share data between them. You can accept
                                   the invitation from an internet browser or from a smart device with the Dexcom Clarity app.
                                   Source:https://productstore.clarity.dexcom.com/Documentation/en/Dexcom_Clarity_User_Guide_Home_User.p
                                   df
                                   Product discloses about media terminal security measure (i.e. sharing code), when an invitation is sent then a
                                   sharing code is discloses to accept the invitation. As the evidence discuss that security measure (i.e. sharing code)
                                   takes place in Dexcom Clarity and it supports to the G5 Mobile CGM System.




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